CaSe:lS-lOlSO-SDB DOC#:J_G Filed202/09/18 Entered:OZ/OQ/J_S 08:29:54 Page:l Of 8
- IN THE UNITED STATES BANKRUPTCY COURT

FOR THE SOUTHERN DISTRICT ()F GEORGIA

  

Fi:linuas'inr<`mnanonto"ideiiiirv"vantage f-;: E-:l " ' '
Debtor 1 Diane Nlance Bussey

     

 

    
   
 

 

    
    

First_ Name Middle Namc Last Name
Debtor 2 §§ Chcck if this is an amended plan
(Sp{>use1 if t`]_]mg) First Namc Middle Name Last Narne
Case number t B" l %i g C:x

 

 
 

(If known)

  

 

Chapter 13 Plan and Motion

§Pursuant to l~`ed. R. Banl<r. P. 3015.1, the Southem District of Georgia General Order 2017-3 adopts this form in lieu of the Oft`icial Forni 113].

1. Notices. })ei)tor(s} must check one box on each line to state whether or not the plan includes each of the following items. Ii` an item
is checked as not being contained in the plan or if neither or both boxes are checked, the provision will be ineffective if set out in
the plan

(a) ThiS contains nonstandard provisionsl See paragraph 15 below.
platt § does not contain nonstandard provisions

(b) '§`1115 §§ values the claim{s) that secures collateral See paragraph 4{t) below.
plan! m does not value claim(s) that secures collateral

(C) ?hiS §§ seeks to avoid a lien or security interest See paragraph 8 below
plant § does not seek to avoid a lien or security interest

2. Plan Payments.

(a) "Die Debtor(s} shall pay to the Chapter 13 Tru-stee (the “Trustee") the stun of $335.00 for the applicable commitment period of:

E 60 months: or

551 a minimum or 36 months see 11 U.s.C. § 1325(1:.)<4).

(b) The payments under paragraph Z(a) sila§l be paid:

['_'3 Pursuant to a Notice to Comnience Wage Withhoiding, the Debtoi(s) request{s) that die Trustee serve such Notice(s) upon the
Debtor's(s') employer(s) as soon as practicable after the filing of this p]an. Sucii Notice{s) shall direct the Debtofs(s')
eniployer(s) to withhold and remit to the Trustee a doliar amount that corresponds to the following percentages of the
monthly plan payment

 

113 Debtor 1 % [3 Debior 2 %

 

§ Direct to the Trustee for the following reason(s}:
§ The Debtor(s) receive(s) income solely from se§f»employment, Socia] Security, government assistance, or
retirement
[:3 The Debtor(s) assert(s) that wage withholding is not feasible for the following reason(s):

 

(c) Additional Pa_vments of $Q (estirnated aniount) will be made on , {anticipated date) from (source, including income tax
refunds).
3. Long-Term De_bt Payments.

(a) Maintenance of Current Installment Payments. The Debtor(s) will make monthly payments in the manner specified as foliows on the
following-long-temi debts pursuantl to ll U.S.C. § 1322(b)(5). These postpetition payments will be disbursed by either the Trustee or
directly by the Debtor(s)__ as specified below Postpetition payments are to be applied to postpetition amounts owed for principai,
interest authorized postpetition late charges and escrow, if applicable Conduit payments that are to be made by the imstee which

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Debtor Diane'Mance Bu$sev Casenuniber 1 l g IEQ

 

become due alter die filing of the petition but before the month of the first payment designated here will be added to the prepetition
arrearage claim

 

PAYMJ§NTS ro
' MADE BY ‘ rNtTtAL
PtuNchAL <;RUS;~BE OR MoNrH OF FIRST PosTPETlTrON MONTHLY
caEDITOR COLLA_TERAL neleENCE (v/N) DEB~;OR(S)) PAYMENT ro CREDITOR PAYt\/LENT
_ 1995
D_'tech F!eetwood
Flnanc.ia| Doublewide
l.l_c Mobi;e_home res - Debtor aebruary, 2018 $362.65

(b) Cure of Arrearage on Long-Term Debt. Pursuant to ll U.S.C. § l322(b)(5), prepetition arrearage claims will be paid in full through
disbursements by the Trustee, with interest (if any) at the rate stated below. Prepetition arrearage payments are to be applied to
prepetition amounts owed as evidenced by the allowed claim_ .

 

INTERES? RA'Z`E ON
DESCRIPHON OF PRINCIPAL RBSIDENCE ESTIMAIED AMOUNT AR_REARAGE {jf
CREDITOR COLLA"I'ERAL (Y/N) OF ARREARAGE applicab;e)
Ditech Financial l_LC 1995 Fleetwood Yes 5,600.00 0.00%
Doubfewide .
Mobiie home
4. Treatment of Claims. Froni the payments received, die Trustee shall make disbursements as follows unless designated otherwise:
(a) Trustee’s Fees. The Trustee percentage fee as set by the _United States ”l`rustee_
(b} Attorney’s Fees. Attorney’s fees allowed pursuant to ll U.S.C. § 507(a}(2) of $4,500.00.
(c) Priority Claims. Otlier ll U.S.C. § 507 claiins, unless provided for otherwise in the plan will be paid in ful§ over the life of the

plan as funds become available in the order specified by law.

(d} Fully Secured Allowed Ciaims. All allowed claims that are fully secured shall be paid through the plan as set forth below

 

 

 

DESCKP'HON OF
CREDITOR . COLLAYERAL ES'HMATED CLAIM §NTEREST RATE MONTHLY PAYMENT
-N ON E-
(e) Secu:~ed Claims E.\’cluded from ll U.S.C. § 506 {those claims subject to the hanging paragraph of ll U.S.C. § 1325(2)).
The claims listed be§ow were either: (l) incurred within 910 days before the petition date and secured by a purchase money
security interest in a motor vehicle acquired for the personal use of the Debtor(s), or {2) incurred within l year of the petition date
and secured by a purchase money security interest in any other thing of value These claims will be paid in full under the plan
with interest at the rate stated below:
DESCRT.PTION OF
CREDITOR COLLA"[ERAL ESTIMATED CLA§M INTEREST RATE MON'I`H;LY PAYMENT
Title Nlax of Augusta 2004 Chevy Trailb|azer . 1,900.00 5.00% 28.31
150000 miles
(tj Valu=ltion of Secured Claims to Which 11 U.S.C. § 506 is Applicable. lite Debtor(s) move(s) to value the claims partially
secured by coliateral pursuant to ll U.S.C. § 506 and provide payment in satisfaction of those claims as set forth below. The
unsecured portion of any bifurcated claims set forth below will be paid pursuant to paragraph 4(h) below. The plan shall be
served on all affected creditors in compliance‘with Fed. R. Bankr. P. 3012(1:)), and the Debtor(s) shall attach a certificate of
service '-
DESCRIP'HON OF VALUATION OF
CREDITOR C@LLAIERAL SECURED CLA;M lNTEREST RATE MONTHLY PAYIV£ENT
Anthony's Auto Sa|es 2003 Buick LeSabre ` 1,500.00 5.00% 28.31
170000"miles
Farmers Furniture An coliateral 100.00 4.00% 4.61
(g,) Special Treatmenc of Unsecured Claims. The following unsecured allowed claims are c§assitied to be paid at lOG%

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Debtor Diane Mance Bussev Case number 1 8`" ibi 3%`_
` m with interest at % per annurn; or l:l without interest:
None
(h)` Gene ral Unsecured Claims. Allowed generai unsecured claims, including the unsecured portion of any bifurcated claims

provided for in paragraph 4® or paragraph 9 of this plan, will be paid a 0.00% dividend or a pro rata share of S0.00, whichever
is greater.

a. Exccutory Contracts.
(a) Maintenance of Current Installment Paymcnts or Rejection of Executory Contract(s) and/or Uncxpired Lease(s).

DnscRrPrioN or
PRoPERrY/sanvrcss orsnunsst) BY
cerDtroR AND CONTRACT Assoi/rEn/Rniscrup MoNrHLY PAYMENT nuisrnn on clemons

-N ON E-

(b) Treatment of Arrea rages. Prepetition arrearage claims will be paid in full through disbursements by the Trustee.

CRBD§?OR ESTIMATED ARREARAGE
-N ON E-

6. Adequate Protection Payments. The Debtor(s) will make pre-continuation lease and adequate protection payments pursuant to ll U.S.C.
§ iszo(ayi) on allowed mims ortho following creditors § Direoi to the creation or@ ro the rmsreo

CREDITOR ADEQUATE PRO'['ECHON OR LEASE PAYl\/LEN? AMOUNT
fit|e Max of Aug usta ‘ 28.31

7. Domestic Support Obligations. 'f'he Debtor(s) will pay all postpetition domestic support obligations direct to the holder of such claim
identified hcre. See ll U.S.C. § lOl (14A). ihe Trustee will provide the statutory notice of ll U.S.C. § l302{d} to the following
clairnant(s}:

CLAMANT ' ADDRESS
-NONE-

8. Lien Avoidance. Pursuant to ll U.S.C_ § 522(@, the De`otor(s} niove(s} to avoid the lien(s) or security interest(s) of the following
creditor(s), upon confirmation but subject to ll U.S.C. § 349, with respect to the property described below. The plan shall be served on all
affected creditor(s) in compliance with Fed. R. Bankr. P. 4003(d), and the Debtor(s) shall attach a certificate of service

 

CRI",DITOR LIEN IDENTIFICATION {if known) PROPERTY

Coviugton Credit-GA 07 A|| Co|laterai
Covington Credit-GA 07 Al| Co|laterai
Equity Auto Loans Ll (TitleN|ax) ~ Al| Co|latera|
l-Eughes Furniture " Al| Co||ateral
Mcb Ai| Co|lateral
Security Fin Ai| Co|latera|
Service l.oan Company _ A!| Co|latera|
Southern Specialty Al| Co|latera|

FinanoelCheck N Go

9. Su rrender of Collateral. 'l`he following collateral is surrendered to the creditor to satisfy the secured claim to the extent shown below
upon confirmation of the plan. The Debtor(s} request(s) that upon confirmation of this plan the stay under ll U.S.C. § 362(a) be terminated
as to the collateral only and that the stay under il U.S.C. § l30l be temiinated in all respects Any allowed deficiency balance resulting
from a creditor’s disposition of the collateral will be treated as an unsecured claim in paragraph 4(h) of this plan if the creditor amends its
previously-filed, timely claim within 180 days from entry of the order continuing this plan or by such additional time as the creditor may
be granted upon motion filed within that lSO-day period.

CREDITOR DESCRIPTION OF COLLA`IER_AL AMOUN l OF CLAIM SATISFIED
United Acceptance inc t Ai| Col|ateral Fu|| Satisfaction of the Debt.

10. Retention of Liens. Holders of allowed secured claims shall retain the iiens securing said claims to the full extent provided by 11 U.S.C §
1325(3)(5). ' `

ll. Amounts of Claims and Claim Obj ections. i`he amount, and secured or unsecured status, of claims disclosed in this plan are based upon
the best estimate and belief of the Debtor(s)_ An allowed proof of claim will supersede those estimated clainis. in accordance with the

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Debtor

12.

13.

14.

15.

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Dial’!€ MH[\C@ BUSS€V ~ Ca$€ number }%" l ga :?>t>

Ba.nl<ruptcy Code and Federal Rules of Bankruptcy Procedure objections to claims may be filed before or after confirmation

Payrnent lncreases. 'Ihe Debtor(S) wili increase payments in the amount necessary to fund allowed claims as this plan proposes,aftcr
notice from the frustee and a hearing if necessary, unless a plan modification is approved

Federal Rule of Bankruptcy Procedure 3002.1. The Trustee shail not pay any fees, expenses, or charges disclosed by a creditor pursuant

to Fed. R. Bankr. P. 3002.1(¢.",__) unless the Debtor's(s') plan is modified after the filing of the notice to provide for payment of such fees,
expenses, or charges

Service of Plan. Pursuant to i"ed. R. Banl<r. P_ 3015(d) and General Order 2017-3, the Debtor{s) shall serve the Chapter 13 plan on the
Trustee and all creditors when the plan is filed with the court, and tile a certificate of service accordingly If the Debtor(s} seek(s) to limit
the amount of a secured claim based on valuation of collateral (paragraph 4(1) above}, seek{s) to avoid a security interest or lien (paragraph

3 above), or seek(s) to initiate a contested matter, the Debtor( s) must serve the plan on the affected creditors pursuant to Fed. R. Bankr. P.
7004. See Fed. R. Banl<r. P. 3012(b), 4003{d}, and 9014.

Nonstandard Provisions. Under Fed. R. Banl;r. P. 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a
provision not otherwise in this local plan form or deviating from it. Nonstandard provisions set out elsewhere in this plan are void.

REDEMPT[ON OF PAWNED PROPERTY: The plan proposes to redeem a 2004 Chevy Trai|blazer (‘the vehic|e”), which is in
the possession of the Debtor(s}, but the title is held by'Tit|eMax under a title pawn contract Debtor(s) shall redeem the
vehicle by paying the debt in fu|! through the chapter 13 pian. Confirmation of the plan shall constitute an affirmative finding
that (1) the grace period for redemption has not expired; (2) the vehicle is property of the estate; and (3) that the adequate
protection payments, in conjunction with the post-confirmation payments, shall constitute appropriate “affirmative steps to

redeem" pursuant to the E|even‘.‘h Circuit’s decision in Char|es R. Ha|l Niotors, Inc. v. Lewis (lrr re Lewis), 137 F.3d 1280(11th
Cir. 1998). -

By signing below, I certify the foregoing plan contains no nonstandard provisions other than those set out in paragraph 15.

Dated:

January 11, 2018 !sl Diane Niance Bussey
- Diaue Mance Bussey
Debtor' 1

 

Deb!.or 2

ls/ D. C|ay Ward
D. C|ay Ward 736770
Attomeyfor the Debtor(s)

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SOllWarG COpyTigl'lt (C} i995-201'/` Bc.=! Casc. LLC - wwv\v.'oestcase.com

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IN THE UNITED STATES BANKRUPTCY COURT
FOR rI`HE SOUTHERN DESTRECT OF GEORGlA
AUGUSTA DIVISION

lN RE: ]

Diane Mance Bussey, ] CASE NO.:18-10130
l
l

Debtor`
CER'I`lFICA'I`E OF SERVICE OF CHAP'I`ER 13 PLAN

l hereby certify that l have this day served upon the following parties a copy ofthe
foregoing Chapter 13 plan by First Class l\/fail placing the same in United States Mail
With proper postage affixed thereon to the following addresses:

See matrix attached as Exhibit 1.

t hereby certify that l have this day served a copy of the foregoing Chapter 13 p}an
upon the following corporations addressed to an Agent or Officer by First Class l\/lail
placing the same in United States l\/iail with proper postage affixed thereon:

CERTIFIED MAIL

Di'i`ech Financial, LLC

c/o Officer or Agent for Service
PO BOX 6172

Rapid City, SD 57709-6172

i hereby certify that f have this day served a copy Ofthe foregoing Chapter 13 plan
upon the foilowing creditors in the manner proscribed by Rule 7004, as the Chapter
13 plan proposes to modify/aiter/avoid their secured status pursuant to paragraph
4(@ or paragraph 8 ofthe plan:

CERTIFIED MAIL CERTIFIED MAIL

Anthony’s Auto Sales TitieMax of Augusta

c/o Officer or Agent for Service c/o Officer or Agent for Service
12 14 Washington Road 1001 Washington Road
Thomson, GA 30824-'7324 Thornson, GA 30824~’7318
CERTIFIED MAlL CERTIFIED MAIL

Farrners Furniture Covington Credit GA 07

C/o Officer or Agent for Service c/o Officer or Agent for Service
PO Box 1140 735 Broad St.

Dublin, GA 31040-1140 Augusta, GA 30901-1306

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Case No.217-10837

Page 2
CERT!FEED MAlL CERTIFIED lVlAIL
Equity Auto Loans (TitleMax] Security Finance
c/o Officer or Agent for Service c/o Officer or Agent for Service
15 Buil St., Suite 200 PO Box 3146
Savannah, GA 31401-2686 Spartanburg, SC 29304-3146
CERTlFlED MAIL CERTlFIED MAIL
Hughes Furniture Service Loan Company
c/o Officer or Agent for Service c/o Officer or Agent for Service
124 jackson St. PO Box 2935
Thomson, GA 30824-2017 Gainesville, GA 30503-2935
CERTIFIED MAIL

Southern Specialty Finance/Check N Go
c/o Officer or Agent for Service

348 E. Martintown Road

North Augusta, GA 29841-5808

l hereby certify that l have this day served a copy of the foregoing Chapter 13 plan
upon an officer of the following insured depository institutions via Certified i\/lail:
N/A

l hereby certify that l have this day electronically served the following parties and
counsel via Cl\/l/ECF:

N/A

This 9“1 day of February, 2018.

/s/ D. Clay Ward

D. Clay Ward

Ward and Spires, LLC
445 Wall<er Street
Augusta, GA 30901
706-724-2640

 

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Case 18-10130-SDB

Southern District of Georgia
1ugusta

Tue Feb 6 12:42:45 EST 2018

1nthony’s 1 to Sales
1214 hash' gton Road
Thomson 1 30824-7324

 

Brown and Radiology Asscciates
PO Box 3845
Augusta 01 30914-3845

Comenity Bankfgoodys
Attn: Bankruptcy

Po Box 182125
Columbus OH 43218-2125

     
  

Ditech Fina ial LLC
PO Box 6 2
Rapi ity SD 57709-6172

DUBLI 01 31040-1140

Hickory Hill Energ Physicians
PO BOX 31757
Philadelphia PA 19101-5061

McDuffie Regional Hedical
521 Hill Street NW
Thomson 01 30824

 

Southern Speciatf; Finance/Check N Go
dba Check N'

348 E. Marti town Road

North Augu a SC 29841-5803

 

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PO on 105503
Atlanta GA 30348-5503

AShro
1112 ith Ave
Monroe WI 53565-1354

 

827 F ncis Drive
Th son, 01 30821-7506

Covington Credit 1 01
752 Broad Str t
901-1306

 

Drs. Jopling t Brunson
115 Gordon Street
Thomson 01 30824-1537

Figis Co Inc
Po Box 7713
Marshfield WI 54449-7713

 

Hughes F niture

Tho on 01 30324-2017

Mcb
955 Greene St
Augusta 01 30901-2231

 
 

Service Lo n Conpany

 

Emered:OZ/OQ/J'S gi§s:t egsi.§fill Pait|f)@eg§s:s?ocof 8

c/o LC1
POI Boz 15519
Savannah 01 31416-2219

1t1as 1cquisitions
294 Union Street
Hackensack NJ 01601-4303

Comcast
105 Rivershoals Parkway
Augusta G1 30909-0235

David W. Perry, DMD
231 Davis Road
Augusta 01 30907-2407

Equity 1uto Lo s Ll lTitleMaxl
15 Bu11 Str Suite 200
Savannah 31401-2685

 
  

Fingerhut

Bankruptcy Dept

6250 Ridgewood Rd

Saint Cloud MN 55303-0820

Huon Le
P.O. Box 2127
1ugusta, 01 30903-2127

0tfice of the U. S. Trustee
Johnson Square Business Center
2 East Bryan Street, Ste 125
Savannah, 01 31401-2638

Seventh Avenue
Seventh 1venue

1112 ith Ave

Monroe WI 53565-1354

United 1cceptance Inc
2400 take Park Dr
Smyrna 01 30080-8993

University H£P§t§p:l$-lOlSO-SDB DOC#ZJ§G Fi

1350 Walton Way
1ugusta 01 30901-2529

The preferred mailing address lpl above has been substituted for the following entity/entities as so specified
by said entity/entities in a Notice of 1ddress filed pursuant to 11 U.S.C. 342(£} and Fed.R.Bank.P. 2002 (gi{ll.

Farners Furniture
1ttn: Corporate Credit
P 0 Box 1140

Dublin, 01 31040-1140

End of Label Matrix

Mailable recipients 31
Bypassed recipients 0
Total 31

empsey L?aq` ar
Ward & Spi es
P 0 Box 493

 

Augusta, 01 30903-1493

llearmers Furnitnre
1ttn: Bankruptcy Department

Po ch 1140
Dublin 01 31040

jj

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(learuers Furniture -
Attn: Corporate Credit
P.0. Box 1140

Dubiin, 01 31040

